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    7                              UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
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    9 MITRA ERAMI, MARIA MCGLYNN,               Case No.: 2:15-cv-07728-PSG-PLA
      BRITTANY SANCHEZ, individually and
   10 on behalf of other members of the general
   11 public similarly situated,                [PROPOSED] FINAL ORDER AND
                                                JUDGMENT
   12
                   Plaintiffs,
   13       vs.
   14
      JPMORGAN CHASE BANK, National
   15 Association,                              Date: September 10, 2018
                                                Time: 1:30 p.m.
   16                                           Courtroom: 6A
                   Defendant.
   17                                           Hon. Philip S. Gutierrez
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                                                                                           [PROPOSED] ORDER
                                                                                CASE NO. 2:15-cv-07728-PSG-PLA
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    1                     [PROPOSED] FINAL ORDER AND JUDGMENT
    2            The Court, having considered the parties’ Stipulation of Settlement and
    3 Release (“Stipulation”) and all other materials properly before the Court, and
    4 having conducted an inquiry pursuant to Section 216(b) of the Fair Labor Standards
    5 Act of 1938 and Rule 23 of the Federal Rules of Civil Procedure, hereby finds and
    6 orders as follows:
    7            1.    Unless otherwise defined herein, all terms used in this Order (the
    8    “Final Order and Judgment”) will have the same meaning as defined in the
    9    Stipulation.
   10            2.      The Court has jurisdiction over the subject matter of this action, the
   11    Plaintiffs, the Class Members, and JPMorgan Chase Bank, N.A.
   12            3.      The Court finds that the Settlement was the product of protracted,
   13    arms-length negotiations between experienced counsel. The Court grants final
   14    approval of the Settlement, including the releases and other terms, as fair,
   15    reasonable and adequate as to the Parties, the Claimants, and the Qualified Class
   16    Members (collectively, the “Settling Parties”). The Settling Parties are directed to
   17    perform in accordance with the terms set forth in the Stipulation.
   18            4.      The Court finds that there were no written objections to the
   19    Settlement.
   20            5.      The Courts find that one Class Member has opted out of the
   21    settlement and is not bound by its release. That individual is Rebecca Campos.
   22            6.      The Court finds that the procedures for notifying the Class about the
   23    Settlement, including the Class Notice and related documents, constituted the best
   24    notice practicable under the circumstances to all Class Members, and fully
   25    satisfied all necessary requirements of due process. Based on the evidence and
   26    other materials submitted to the Court, the Class Notice to the Class Members
   27    provided adequate, due, sufficient and valid notice of the Settlement.
   28            7.      The Court finds, for settlement purposes only, that the Class satisfies
        __________________________________________________________________________________________________________
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                                                                                         [PROPOSED] ORDER
                                                                              CASE NO. 2:15-cv-07728-PSG-PLA
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    1    the applicable standards for certification under Fed. R. Civ. P. 23 and 29 U.S.C.
    2    § 216(b).
    3            8.      The Action is dismissed on the merits and with prejudice,
    4    permanently barring the Plaintiffs and all other Claimants and Qualified Class
    5    Members from filing, commencing, prosecuting, or pursuing the claims Released
    6    by the Stipulation whether or not on a class or collective action basis, or from
    7    participating in any class or collective action involving such claims.
    8            9.      Class Counsel’s request for attorneys’ fees and litigation costs and
    9    expenses in this action is approved as follows: Class Counsel are hereby awarded
   10    $2,777,777 for attorneys’ fees and reimbursement of litigation costs and expenses
   11    in the amount of $54,665.13 which the Court finds were reasonably incurred in
   12    prosecution of this case.
   13            10.     The enhancement awards for the Named Plaintiffs, as set forth in
   14    Paragraph V.d.iii of the Stipulation of Settlement and Release, are approved to
   15    compensate them for their unique services in initiating and maintaining this
   16    litigation.
   17            11.     Nothing relating to this Order, or any communications, papers, or
   18    orders related to the Settlement, shall be cited to as, construed to be, admissible as,
   19    or deemed an admission by Defendant or Releasees of any liability, culpability,
   20    negligence, or wrongdoing toward the Plaintiffs, the Class Members, or any other
   21    person, or that class or collective action certification is appropriate in this or any
   22    other matter. There has been no determination by any Court as to the merits of the
   23    claims asserted by Plaintiffs against Defendant or as to whether a class should be
   24    certified, other than for settlement purposes only. Furthermore, nothing in this
   25    Agreement shall be cited to as, construed to be, admissible as, or considered any
   26    form of waiver of any alternative dispute resolution agreements, provisions, or
   27    policies by Defendant or Releasees.
   28            12.     The action is dismissed on the merits and with prejudice, and
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                                                                                         [PROPOSED] ORDER
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    1    Plaintiffs, Class Members, and Claimants, or anyone acting on their behalf, shall
    2    be barred and enjoined from: filing, or taking any action directly or indirectly, to
    3    commence, prosecute, pursue or participate on a class or collective action basis
    4    any action, claim or proceeding against Defendant in any forum in which any of
    5    the claims subject to the Settlement are asserted, or which in any way would
    6    prevent any such claims from being extinguished; or seeking, whether on a
    7    conditional basis or not, certification of a class or collective action that involves
    8    any such claims.
    9            13.     The Court shall have exclusive and continuing jurisdiction over this
   10    Action for the purposes of supervising the implementation, enforcement,
   11    construction, administration, and interpretation of the Stipulation and this Final
   12    Approval Order.
   13            14.     The Parties are ordered to carry out the Settlement as provided in the
   14    Stipulation.
   15            15.     This document shall constitute a judgment for purposes of Rule 58 of
   16    the Federal Rules of Civil Procedure.
   17
   18 IT IS SO ORDERED.
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   21 Dated: ___________, 2018                       _______________________________________
                                                        Honorable Philip S. Gutierrez
   22                                                   Central District of California
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        __________________________________________________________________________________________________________
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                                                                                         [PROPOSED] ORDER
                                                                              CASE NO. 2:15-cv-07728-PSG-PLA
